DOCUMENTS UNDER SEAL
                     Case 3:22-mj-70339-MAG Document 2 Filed 03/18/22 Page 100:06
                                                          TOTAL TIME (m ins):
                                                                              of 1
M AGISTRATE JUDGE                        DEPUTY CLERK                             REPORTER/',*,7$/5(&25',1*
M INUTE ORDER                           Ada Means                                 12:22-12:28
MAGISTRATE JUDGE                         DATE                                     NEW CASE          CASE NUMBER
Sallie Kim                               March 18, 2022                                            3-22-70339-MAG-1
                                                     APPEARANCES
DEFENDANT                                 AGE      CUST  P/NP   ATTORNEY FOR DEFENDANT                    PD.       RET.
Grant McKay Durtschi                      48        Y       P      Gabriela Bischof- provisional appt.    APPT.
U.S. ATTORNEY                             INTERPRETER                           FIN. AFFT                COUNSEL APPT'D
Erin Cornell                             Not required                           SUBMITTED

PROBATION OFFICER           PRETRIAL SERVICES OFFICER               DEF ELIGIBLE FOR              PARTIAL PAYMENT
                            Ana Mendoza                             APPT'D COUNSEL                OF CJA FEES
                                       PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR             PRELIM HRG       MOTION           JUGM'T & SENTG                          STATUS
      00:05                                                                                                 TRIAL SET
       I.D. COUNSEL               ARRAIGNMENT             BOND HEARING            IA REV PROB. or           OTHER
      00:01                                                                       or S/R
       DETENTION HRG              ID / REMOV HRG          CHANGE PLEA            PROB. REVOC.               ATTY APPT
                                                                                                            HEARING
                                                    INITIAL APPEARANCE
         ADVISED               ADVISED                   NAME AS CHARGED             TRUE NAME:
         OF RIGHTS             OF CHARGES                IS TRUE NAME
                                                        ARRAIGNM ENT
       ARRAIGNED ON                ARRAIGNED ON             READING W AIVED              W AIVER OF INDICTMENT FILED
       INFORMATION                 INDICTMENT               SUBSTANCE
                                                        RELEASE
      RELEASED           ISSUED                     AMT OF SECURITY        SPECIAL NOTES                 PASSPORT
      ON O/R             APPEARANCE BOND            $                                                    SURRENDERED
                                                                                                         DATE:
PROPERTY TO BE POSTED                          CORPORATE SECURITY                      REAL PROPERTY:
    CASH    $


      MOTION           PRETRIAL                DETAINED         RELEASED      DETENTION HEARING              REMANDED
      FOR              SERVICES                                               AND FORMAL FINDINGS            TO CUSTODY
      DETENTION        REPORT                                                 W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                           PLEA
    CONSENT                   NOT GUILTY                  GUILTY                   GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE               CHANGE OF PLEA              PLEA AGREEMENT           OTHER:
    REPORT ORDERED                                        FILED
                                                        CONTINUANCE
TO:                               ATTY APPT                BOND                  STATUS RE:
March 23, 2022                    HEARING                  HEARING               CONSENT                   TRIAL SET

AT:                               SUBMIT FINAN.            PRELIMINARY           CHANGE OF                67$786
                                  AFFIDAVIT                HEARING               PLEA
12:00 p.m. by Zoom                                         BBBBBBBBBBBBB
BEFORE HON.                       DETENTION                $55$,*1MENT           MOTIONS                   JUDGMENT &
                                  HEARING                                                                  SENTENCING
Beeler
        TIME W AIVED              TIME EXCLUDABLE          IDENTITY /            PRETRIAL                  PROB/SUP REV.
                                  UNDER 18 § USC           REMOVAL               CONFERENCE                HEARING
                                  3161                     HEARING
                                                ADDITIONAL PROCEEDINGS
Due to the Covid-19 pandemic, all parties consent to proceed by Zoom videoconference. DPPA advised. Defendant admitted
to his identity and waived his right to an identity hearing.
CC: SK & LB
                                                                                       DOCUMENT NUMBER:
